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                                                            U.S. Department of Justice
                                                            Drug Enforcement Administration
                                                            FOIA and Privacy Act Unit
                                                            8701 Morrissette Drive
                                                            Springfield, VA 22152
                                                            September 22, 2022

Daniel Schwartz, Esquire
Bryan Cave Leighton Paisner LLP
1155 F Street, NW
Washington, D.C. 20004-1357
dcschwartz@bclplaw.com

Case Number: 21-00286-F

Subject: Hansten v. DEA
         Civil Action No.: 21-2043 (RC)

Dear Mr. Schwartz:

        Pursuant to the above-captioned civil action and July 22, 2022 Opinion, enclosed please
find an Excel spreadsheet containing the names, addresses, and business activities of all parties
that were issued DEA Form 222s in which the date issued is May 11, 2011.

       For your information, Congress excluded three discrete categories of law enforcement and
national security records from the requirements of the FOIA. See 5 U.S.C. § 552(c). This
response is limited to those records that are subject to the requirements of the FOIA. This is a
standard notification that is given to all our requesters and should not be taken as an indication that
excluded records do, or do not, exist.
        If you have any questions regarding this letter, you may contact AUSA T. Anthony Quinn
at (202) 252-7558 or Tony.Quinn2@usdoj.gov.

                                              Sincerely,
                                               ANGELA             Digitally signed by
                                                                  ANGELA HERTEL

                                               HERTEL             Date: 2022.09.22
                                                                  05:05:32 -04'00'
                                              Angela D. Hertel, Chief
                                              Legal and External Affairs Sub-Unit
                                              Freedom of Information and Privacy Act Unit

Enclosure
